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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                Magistrate Judge N. Reid Neureiter

  Civil Action No: 20-cv-00392-PAB-NRN                   Date: May 19, 2020
  Courtroom Deputy: Stacy Libid                          FTR: Courtroom C203

   Parties:                                              Counsel:

   A.K., a minor by and through                          Adam Kraut
   KELLEY MOYER,                                         Raymond DiGuiseppe

        Plaintiff,

   v.

   CHERRY CREEK SCHOOL DISTRICT NO. 5,                   Daniel Spivey
   BOARD OF EDUCATION FOR THE CHERRY
   CREEK SCHOOL DISTRICT,
   SCOTT SIEGFRIED, in his official capacity as
   Superintendent of Cherry Creek School District, and
   CAROLL DURAN, in her official capacity as Principal
   of Endeavor Academy

        Defendants.


                                     COURTROOM MINUTES


  TELEPHONIC SCHEDULING CONFERENCE

  9:33 a.m.          Court in session.

  Court calls case. Appearances of counsel.

  THE FOLLOWING WILL CONFIRM THE ACTIONS TAKEN AND DATES SET AT
  THE SCHEDULING CONFERENCE HELD THIS DATE.

  Parties shall meet and confer regarding any need for a Protective Order, and if needed,
  then parties shall file their Motion for Protective Order and proposed Protective Order
  on or before May 26, 2020.

  Joinder of Parties/Amendment to Pleadings: July 5, 2020
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  Discovery Cut-off: January 19, 2021

  Dispositive Motions Deadline: February 19, 2021

  Each side shall be limited to 6 depositions, excluding experts.
  Depositions shall not exceed 7 hours for two deponents, exclusive of experts, all others
  limited to 4 hours, for each side, without prior agreement or absent leave of court.
  Each side shall be limited to 25 interrogatories, 25 requests for production, and 25
  requests for admission.
  Interrogatories, Requests for Production, and Requests for Admissions shall be served
  45 days before close of discovery.

  Each side shall be limited to 2 expert witnesses, absent leave of court.
  Disclosure of Affirmative Experts: November 20, 2020
  Disclosure of Rebuttal Experts: December 20, 2020
  The disclosure of Experts shall be consistent with Fed. R. Civ. P. 26(a)2(B).

  JOINT STATUS REPORT shall be filed no later than October 28, 2020, updating the
  Court on the status of discovery and if there is anything the parties need to address with
  the Court. If there are any outstanding issues, the Court may set a Status Conference.

  A Final Pretrial Conference is set for April 20, 2021 at 10:30 a.m. before Magistrate
  Judge N. Reid Neureiter in Courtroom C203, Second floor, Bryon G. Rogers
  Courthouse, 1929 Stout Street, Denver, Colorado 80294. The parties shall electronically
  file their proposed pretrial order through CM/ECF, and include a courtesy copy of the
  proposed order in a Word format sent by email to
  Neureiter_Chambers@cod.uscourts.gov seven days prior to the conference.

  Counsel may not file any OPPOSED discovery motions without leave of court.
  Counsel are instructed that should a discovery dispute arise they are to comply
  with Local Rule 7.1(a) in an effort to resolve the issues. If that is unsuccessful,
  counsel shall jointly call Chambers at (303) 335-2403 to arrange for a discovery
  hearing before the Court. At least two business days prior to the hearing, the
  parties shall email Chambers Neureiter_Chambers@cod.uscourts.gov a joint
  statement, no longer than ten pages, setting out each party’s position with regard
  to each dispute.

  Parties are directed to www.cod.uscourts.gov and shall fully comply with the
  procedures of the judicial officer assigned to try this case on the merits.

  Scheduling Order entered.

  10:03 a.m.   Court in recess.

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  Hearing concluded.
  Total in-court time: 00:30

  *To order transcripts of hearings, please contact either Patterson Transcription
  Company at (303) 755-4536 or AB Litigation Services at (303) 629-8534.




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